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James Garretson (00:00):
Hello?

Agent Matthew Bryant (00:02):
Hey, you pulling a jet boat back yet?

James Garretson (00:06):
Not yet. I'm still in Ardmore until... I'm waiting on the damn dealer to get it ready.

Agent Matthew Bryant (00:12):
Gotcha. Did you buy it at that place up here north of Denton?

James Garretson (00:16):
Yeah. Fish and Ski in Sanger?

Agent Matthew Bryant (00:19):
Yeah, that's it.

James Garretson (00:20):
Yep.

Agent Matthew Bryant (00:20):
I just passed it a bit ago and thought of you.

James Garretson (00:23):
Yeah, it's actually sitting right out front. It's got a tower on it.

Agent Matthew Bryant (00:27):
Sweet.

James Garretson (00:28):
It's got a big old tower. It's like a 15-footer. It's pretty nice though.

Agent Matthew Bryant (00:31):
Well, that's cool.

James Garretson (00:34):
Definitely-

Agent Matthew Bryant (00:35):
[crosstalk 00:00:35].

James Garretson (00:35):

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Definitely the woman-getter in the back.

Agent Matthew Bryant (00:38):
Yeah, for sure. I was going to pick your brain. Who in the world... I was trying to figure out... I believe
Joe's team might have some secret witnesses that they're bringing in, and I'm just trying to figure out
who in the heck would they have that would have inside information about the case that might be some
super-secret witness.

James Garretson (01:07):
None.

Agent Matthew Bryant (01:10):
Other than the crazy monkey ladies, who could it be?

James Garretson (01:13):
Nobody, because there was nobody else around.

Agent Matthew Bryant (01:17):
Yeah.

James Garretson (01:18):
I don't think anybody. Probably just blowing smoke. Don't they have to give the list, though, for the
defense ahead of time?

Agent Matthew Bryant (01:26):
Defense doesn't have to give prosecution anything.

James Garretson (01:30):
Really? I thought they had to have time to prep. Huh.

Agent Matthew Bryant (01:34):
No, it's the prosecution that has to do that for defense.

James Garretson (01:37):
Oh. I don't know. I don't see any smoking gun.

Agent Matthew Bryant (01:42):
I'm just trying to figure out what would be their ace in the hole, who would be their ace in a hole that
could come up and say, "None of this is true" and have damning information or something. I don't know.

James Garretson (02:01):
How is that, though, because it's all on audiotape?



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Agent Matthew Bryant (02:02):
Yeah, I don't know. Unless he's trying to discredit witnesses, I don't know.

James Garretson (02:08):
I don't know, man. I think he's going to plea right in time. I've kind of heard through the grapevine that
he was really considering it.

Agent Matthew Bryant (02:15):
Yeah, I don't know. I don't trust him to plea, as bad as his ego is. But I don't know. They'll try to...
[crosstalk 00:02:26]-

James Garretson (02:26):
Did you see that television interview last on Lowe and Stark?

Agent Matthew Bryant (02:31):
Oh, I heard that. I heard something about it. Was it a television interview?

James Garretson (02:35):
Yeah, it was a K10. They're talking about the new zoo and a bunch of angry people, and Lowe was
threatening this lady by text message. That stuff's going to go sour quick. And then they put Stark on
there and...

Agent Matthew Bryant (02:52):
What's Stark's-

James Garretson (02:53):
Well, they just basically threw Stark in there, his new business partner. They pulled up his past and all
the PETA stuff. It was just crazy. I guess Lowe was texting this lady, threatening the neighbor out there
to keep her mouth shut. She went right on the news and just started blasting it all out there. I don't see
that place getting moved anyway.

Agent Matthew Bryant (03:24):
Yeah, I'm glad you're out.

James Garretson (03:26):
Yeah, I'm out of that shit. That's just too much drama. But no, I don't know who his smoking gun could
be, because... I don't know anybody.

Agent Matthew Bryant (03:38):
I'm just trying to figure out. They kind of alluded that they got a secret ace in the hole that's going to
blow everything up, and I don't know what it could be.

James Garretson (03:45):



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I mean, what? He said that stuff. It's out of his mouth. I don't see how he has a leg to stand on, really,
other than flinging mud and thinking he can get off.

Agent Matthew Bryant (04:01):
That's what he does. He's always done that, is sling mud at somebody else. In his mind, it makes him
innocent if he can sling enough mud at somebody else.

James Garretson (04:11):
Yeah, everybody picks on him, and he's just the victim. But that [Penny De Waal 00:04:17], I guess, that
was one of his cult followers. I guess she fell off the wagon.

Agent Matthew Bryant (04:24):
Yeah?

James Garretson (04:25):
That Penny De Waal or whatever her name is?

Agent Matthew Bryant (04:28):
Yeah.

James Garretson (04:28):
But I don't know. I don't see who he could get, because I don't know anybody else that knew what was
going on. Finlay. That's the only one I can think about.

Agent Matthew Bryant (04:40):
Yeah, I don't know either.

James Garretson (04:42):
And you never know. It might get Finlay to change his whole thing. Who knows?

Agent Matthew Bryant (04:47):
You've never been approached, have you?

James Garretson (04:48):
Huh-uh (negative). Nobody. Just the reporters and stuff, but I've managed to blow all them off.

Agent Matthew Bryant (04:56):
Well, I think Finlay's pretty solid on where he's at.

James Garretson (04:59):
Is he?

Agent Matthew Bryant (05:01):


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Yeah.

James Garretson (05:01):
I mean, with Finlay, though, that's the pretty much ace, I would think. I don't know.

Agent Matthew Bryant (05:07):
Oh, man. I don't know either.

James Garretson (05:11):
I still think he's going to plead. What did they just say, "Hey, I got a smoking gun that's going to
exonerate me" or whatever?

Agent Matthew Bryant (05:18):
I guess so. I don't know what the deal is. I really hadn't heard that straight up. It's just kind of been
alluded to.

James Garretson (05:26):
Really? Hmm. I don't know.

Agent Matthew Bryant (05:34):
I'm just trying pick your brain to see who could it be or who's out there that could discredit everything
or... [crosstalk 00:05:39]-

James Garretson (05:39):
Just me? Or discredit everybody?

Agent Matthew Bryant (05:45):
Well, they'd have to get to everybody. They discredit you, it still doesn't take away the tape.

James Garretson (05:51):
Yeah. That's what I don't understand. Even if he discredited me, he's still on tape saying it was the
[McCurr 00:06:00] lady. I don't know. I still think he's going to plea, because that's just a lot. If you're
looking at that many years, you know?

Agent Matthew Bryant (06:10):
Yeah.

James Garretson (06:10):
I don't know.

Agent Matthew Bryant (06:13):
But if loses and he goes to trial and loses, he can still say he was framed.



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James Garretson (06:19):
And then he appeals it, and then that doesn't go anywhere.

Agent Matthew Bryant (06:24):
He's just the victim of a bad criminal justice system and he's innocent. And all of his followers still keep
giving him the fun Joe. But if he pleas, and you only plea because you're guilty.

James Garretson (06:38):
Yeah? Hmm. What if-

Agent Matthew Bryant (06:41):
Or you think you're going to get proven guilty.

James Garretson (06:44):
But if he even talked about a plea, it's going through his mind, then. It's got to be going through his
mind.

Agent Matthew Bryant (06:50):
I remembered yesterday when I told you that, the reason I got freaked out is I was told never to
mention that to a soul.

James Garretson (06:58):
Oh yeah, yeah, no.

Agent Matthew Bryant (06:59):
I was like, "Oops. I slipped up and told James [crosstalk 00:07:01]-

James Garretson (07:01):
No.

Agent Matthew Bryant (07:02):
... freely. [crosstalk 00:07:04]-

James Garretson (07:03):
No, I heard he was going to plea. Doug told me that. Months ago he said that he was... He talks to that
Ronnie Sands, and that Ronnie Sands talks to Joe. He was like he didn't know what to do, I guess, at that
point. But they switch sides. Like that Ronnie Sands, he was against Joe and Ashley [inaudible 00:07:27].
I mean, they change sides so much it's unreal. That's what-

Agent Matthew Bryant (07:34):
Me commenting what I told you the other day about that plea, you never heard that.

James Garretson (07:37):


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I never heard that. I just-

Agent Matthew Bryant (07:38):
Yeah, because I'll get my ass in jam.

James Garretson (07:41):
No, no. I just wish he would though, just plea that shit out and be done. It's really going to be like a Jerry
Springer Show.

Agent Matthew Bryant (07:50):
Yeah, it is.

James Garretson (07:51):
Because Joe's going to be sitting there telling his lawyers what to do, like he's this big crime lord.

Agent Matthew Bryant (07:58):
[inaudible 00:07:58].

James Garretson (07:58):
I already see how it's all going to go.

Agent Matthew Bryant (08:05):
We're getting 20 days away, and I'm hearing stuff that they've got this ace in the hole. I started to go,
"What have I missed? What can they have?" That type of deal.

James Garretson (08:16):
Even if they had a person that says it's all bullshit, what is that going to do?

Agent Matthew Bryant (08:18):
I don't know.

James Garretson (08:23):
I haven't had any of my people or people I know talked to, or anybody. I figured the defense would
already try to question me and stuff, but I haven't heard from anybody. I don't know.

Agent Matthew Bryant (08:37):
It'll be interesting.

James Garretson (08:39):
Plea, plea, plea, plea, plea. Give everybody a break.

Agent Matthew Bryant (08:42):
Yes. Yes, yes, yes, yes, yes, yes, yes.


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James Garretson (08:46):
Does the prosecutor even want him to take a plea? She probably doesn't want to try it either, does she?

Agent Matthew Bryant (08:51):
No. Nobody wants to try this thing. You want them to plea. If they won't... I mean, it's just so much
work, so much stress. But it comes down to the ethical thing. You're not going to let him walk just
because you got a lot of stress and a lot of hard work in front of you. That's our job, so you do your job.
But yeah, they could make your job easier if they chose to plea.

James Garretson (09:15):
But there's no chance of them dropping charges or anything, is there?

Agent Matthew Bryant (09:18):
No.

James Garretson (09:19):
That'd suck if he just walked out a free man.

Agent Matthew Bryant (09:23):
No, that ain't going to happen. The only way he could walk out as if he wins at trial. But he's got to win
21 counts.

James Garretson (09:33):
Then you got your next agents. Whoever else is going to take over your deal, they're going to have their
hands full with Stark and Lowe. Oh my God. That's that's worse than Joe and Hitler.

Agent Matthew Bryant (09:49):
I don't know worse. I just say it's just another version of the same.

James Garretson (09:56):
Yeah, yeah. They're going to have their hands full.

Agent Matthew Bryant (10:00):
Mm-hmm (affirmative).

James Garretson (10:02):
All right, but yeah.

Agent Matthew Bryant (10:03):
Joe thought he was smarter than everybody else, and the others think that they're better cons than
everybody else.

James Garretson (10:10):


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Everybody thinks they're just going to walk. The egos on them, though. What gets me is their egos. Like
that Stark, man, he's got a head. God, I don't know. He's going through all kinds of crap, but he's still got
a crazy ego. When I placed those animals, boy, he was talking shit to me left and right. Ugh, I don't
know. I'll be looking at blue water. They'll be looking at tiger shit.

Agent Matthew Bryant (10:39):
Yeah, I hear you. Well, [crosstalk 00:10:41]-

James Garretson (10:42):
All right, man. All right, bye.

Agent Matthew Bryant (10:44):
We'll probably get with you before trial and figure out some stuff.




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